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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


    CHRISTOPHER SEAMAN, et al.,
                                                       CASE NO. 3:22-cv-00006
                                        Plaintiffs,

                          v.                           ORDER

    COMMONWEALTH OF VIRGINIA, et al.,
                                                       JUDGE NORMAN K. MOON
                                      Defendants.




         The Court determines, pursuant to 28 U.S.C. § 636(b)(3) and Fed. R. Civ. P. 16(a)(5),

  this matter will be and hereby is REFERRED for mediation before United States Magistrate

  Judge Joel Hoppe, and for any proceedings related thereto that Judge Hoppe deems appropriate.

  The parties are directed to contact Judge Hoppe’s Courtroom Deputy, Karen Dotson, at 540-434-

  3181 ext. 2, forthwith to schedule any mediation or proceedings Judge Hoppe deems appropriate,

  if the parties have not already done so.

         It is so ORDERED.

         The Clerk of Court is directed to send a certified copy of this Order to all parties.

         Entered this 18th     day of July, 2022.
